                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                        CIVIL ACTION NO. 5:22-cv-12-KDB-DSC


 ALEJANDRO J. SUELTA and                     )
 ADRIANNE CARROLL, individually and
 on behalf of all others similarly situated,
                                             )
                   Plaintiffs,               )
                                             )
 v.                                          )                           ORDER
                                             )
 CITIBANK. N.A. and JOHN DOES 1-10, )
                                             )
                  Defendants.                )



       THIS MATTER is before the Court on “Defendants’ Motion to Stay” (document # 15)

filed June 6, 2022. For the reasons set forth therein, the Motion will be GRANTED.


       Defendants contend that further proceedings in this case should be stayed pending

resolution of the certified class action in Christine Head et al. v. Citibank, N.A., No. 3:18-cv-

08189-ROS, pending in the District of Arizona. These actions arise from similar operative facts,

and Defendants sufficiently allege there is already a certified class that subsumes Plaintiffs’ claims

here. Consideration of the first-to-file rule and its component factors also supports a stay. For these

reasons and the other reasons set forth in Defendants’ briefs, the Motion is granted.


       The Clerk is directed to send copies of this Order to counsel for the parties and to the

Honorable Kenneth D. Bell.




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SO ORDERED.



                       Signed: July 25, 2022




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